                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:05cr209-V


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )
                                )                       ORDER
                                )
LISA BRYANT CANIPE - 2          )
_______________________________ )

       THIS MATTER is before the Court on its own motion to continue the captioned

criminal matter from the 11 July 2005 term in the Statesville Division.

       The Court finds that the Defendant’s case is "joined for trial with a co-defendant as

to whom the time for trial has not run and no motion for severance has been granted," 18

U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a miscarriage

of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends of justice

served by taking such action outweigh the best interest of the public and the Defendants

to a speedy trial.

       IT IS, THEREFORE, ORDERED that this case is hereby continued from the July

2005 term in the Statesville Division to the 12 September 2005 term in the Statesville

Division.




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                       Signed: June 22, 2005




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